         Case 1:21-cr-00035-EGS Document 195 Filed 06/06/22 Page 1 of 6




                           UNITED STATES DISTRICT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA             )
                                     )
v.                                   )    Case No. 21-cr-00035-EGS
                                     )
RONALD COLTON McABEE,                )
                                     )
        Defendant.                   )




     DEFENDANT RONALD MCABEE’S REPLY TO OPPOSITION TO MOTION FOR

                     RECONSIDERATION OF DETENTION ORDER




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         Case 1:21-cr-00035-EGS Document 195 Filed 06/06/22 Page 2 of 6




       The Government’s Opposition boils down to a single note – that the motion for

reconsideration does not present “new and material” information necessary to reopen the

Detention Order made on October 22, 2021. 1

       What the Government’s Opposition ignores is the challenge to the legal analysis

undertaken by the Court as reflected in the Memorandum Opinion. The Court is always free to

revisit legal analysis in an earlier order if the Court is concerned as to whether the legal analysis

was correct or not. The manner by which the Court reached its decision was not apparent to the

defense until after the analysis was made clear by the Opinion.

       Further, the standard for review of factual determinations on appeal of the Court’s

decision would be “clearly erroneous.” Defendant McAbee’s motion does argue that prior

factual determinations by this Court as reflected in the Opinion are “clearly erroneous,” and that

they were caused in large part by the Government’s misrepresentation of the video evidence,

among other things. To suggest that this Court is not entitled to revisit its earlier Order using the

same standard that an appellate court might apply seems curious.




1 The Government dismisses almost without comment the new employment opportunity which
was referenced in the Defendant’s motion. But this opportunity reflects a new and material
change in what would be a potential condition of release – that Mr. McAbee could be subject to
home incarceration with GPS monitoring while holding gainful employment on a fulltime basis
from his home. That is a potential new release condition that substantially mitigates the risk of
danger to the community by minimizing to the greatest degree possible any opportunity for Mr.
McAbee to leave his residence. This Court should not presume that Mr. McAbee would
disregard this Court’s instructions in that regard as there is no factual basis for any such
presumption. The Court should conclude that Mr. McAbee would follow instructions to remain
inside his home at all times except for recognized exceptions such as receiving medical care.
            Case 1:21-cr-00035-EGS Document 195 Filed 06/06/22 Page 3 of 6




       I.        The Court’s Detention Order Incorrectly Applies The Bail Reform Act.
       As noted in the Defendant McAbee’s motion – and ignored in the Government’s

Opposition – the Court’s Opinion makes a fundamental mistake in how it applies parts of the

Bail Reform Act factors that are the legal foundation for decisions about release or detention

pending trial.

       Most significantly, the Court incorrectly considered the “weight of the evidence” factor

as being the functional equivalent of the likelihood that the defendant will be convicted. Suich

consideration is a fundamental violation of the Bail Reform Act’s precepts and leads to

circumstances like this were a presumption of guilty becomes a de facto sentence through pretrial

detention.

       That is not expressly contrary to how the “weight of the evidence” factor is meant to

applied. Controlling case law in this Circuit makes it abundantly clear that the factor should not

be employed as a pretrial analysis of likely guilt in circumstances where none of the protections

afforded to a Defendant by the Fifth and Sixth Amendments are employed. The statute does not

permit this factor to be employed as any form of a “predetermination of guilt.” United States v.

Alston, 420 F.2d 176, 179-80 (D.C. Cir. 1969).

       This view was echoed by the First Circuit:

              “Until a defendant has been convicted, the nature of the offense, as well as the
       evidence of guilt, is to be considered only in terms of the likelihood of his making
       himself unavailable for trial. Determination of what is needed “reasonably [to] assure”
       defendant's appearance, not considerations of state comity, controls the setting of bail
       under the Bail Reform Act.”
United States v. Edson, 487 F.2d 370, 372 (1st Cir. 1973)(Emphasis added.)
         Case 1:21-cr-00035-EGS Document 195 Filed 06/06/22 Page 4 of 6




       It is often noted that the “weight of the evidence” is the least important of the Bail

Reform Act Factors. But that is not always true. In United States v. Chen, 820 F.Supp. 1205,

1207-08 (N.D.CA 1992), the Court observed:

         Although the weight of the evidence is "the least important of the various factors,"
Motamedi, 767 F.2d at 1408, this is only true if the weight of the evidence is used to buttress a
decision to detain the defendant. If the evidence against a defendant is weak, that becomes an
important factor favoring release. The determination of pretrial release under § 3142 neither
requires or permits a pretrial determination of guilt. Gebro, 948 F.2d at 1121-22. The evidence of
guilt is relevant only in terms of the likelihood that the defendant will fail to appear. United
States v. Winsor, 785 F.2d 755, 757 (9th Cir.1986).
       As noted in the motion, the Court used language in the Memorandum Opinion that

inappropriately offered the Court’s views with respect to the defendant’s likely guilt with respect

to the assault charges, relying almost exclusively on what was urged upon it by the

Government’s narration of the video evidence.

       The Court’s opinion acknowledged that the Defendant offered a different narrative, and

that he’d have a chance to offer that narrative at trial before the jury. But that acknowledgment

betrayed the Court’s mistake in its approach.

       For detention purposes, the Bail Reform Act does not authorize the Court to opine as to

what the video evidence shows or does not show. The issue for the Court is whether the

evidence reveals the existence of a viable defense, or whether a defendant might be motivated to

flee in order to avoid facing the evidence against him. Likely guilt or innocence is a

PROHIBITED consideration.

       In this case – as the Court understood -- the videos are the foundation of Mr. McAbee’s

defense. The question for the jury won’t be a matter of what happened in front of the LWT

tunnel entrance. The question for the jury will be Mr. McAbee’s credibility when he testifies to
         Case 1:21-cr-00035-EGS Document 195 Filed 06/06/22 Page 5 of 6




each moment of the videos, and explains each of his actions from the moment he stepped into the

front of the tunnel until the time he and Off. A.W. were able to stand back up again.

       But Mr. McAbee’s credibility is not at issue as part of a detention proceeding because

credibility is an issue for the “finder of fact.” This Court has no basis in the record to make any

judgment with regard to Mr. McAbee’s credibility because it has heard nothing from him.

       Further, the use of the “Chrestman factors” in this and other January 6 cases – likely even

in Chrestman itself – runs counter to what is allowed by the Bail Reform Act. It is worth noting

that the Chrestman decision itself includes the following:

       He came to Washington, D.C. ready for a fight, armed with tactical gear and a weapon;
       coordinated with his fellow Proud Boys and others before and during the assault on the
       Capitol; and led his co-conspirators through the Capitol grounds and into the building,
       shouting at the crowd to "take" the Capitol. This defendant's actions were specifically
       designed to impede law enforcement. He confronted the Capitol Police at every
       opportunity, threatened them, and encouraged the mob to stop them from carrying out
       their duties. Finally, he deployed his axe handle and directed his co-conspirators in a
       scheme to prevent Capitol Police from securing areas of the Capitol with metal barriers.
       In short, he sought and succeeded in creating mayhem on Capitol grounds and interfering
       with the Capitol Police,


United States v. Chrestman, 525 F.Supp.3d 14, 28 (D.D.C 2021).
       How can that language can be squared with the Circuit’s statement in Alston that a

district court cannot make observations in detention hearings that are tantamount to pronouncing

the defendant’s guilt, and consider that that a basis for detention? As the Circuit said in Alston:

       “The District Court also referred to the "brazen act perpetrated in the instant case." This
       was a determination on an issue that was not noticed for hearing, a finding based solely
       on the claimed testimony of prosecution witnesses. No one may be confined on the
       ground that he has committed an offense when the determination is void of the
       protections that are the essentials of Anglo-American jurisprudence.
Alston, 420 F.2d at 179.
           Case 1:21-cr-00035-EGS Document 195 Filed 06/06/22 Page 6 of 6




         Defendant McAbee’s motion called attention to just a few specific passages from this

Court’s Opinion which violate to principle established by Alston because they are both

pronouncements and condemnations of what the Court has found to be the actions of Defendant

McAbee on January 6.

         But nearly the entirety of the Court’s analysis on the Chrestman factors and its review of

the “weight of the evidence” violated the limitations on the manner in which those matters are to

be considered for purposes of detention or release pending sentencing.

         II.    Additional Video Evidence

         Defendant McAbee is filing as a supplement to his motion additional video evidence

taken from “open source” video that was not produced to the Defendant as discovery. The

Defendant’s family was made aware of this video, but it was not yet available at the time of the

filing of the original motion.

         The Government should be allowed to address these new videos in a Sur-Reply to this

Reply.




Dated: June 7, 2022                            Respectfully submitted,

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